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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
           v.                 )
                              )
CARLOS LOMELI and MANUEL      )                       ORDER
HERNANDEZ,                    )
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on the government’s

motion for reconsideration of order adopting magistrate’s

supplemental findings and recommendation, and requests review of

government’s statement of objections (Filing No. 219).                Inasmuch

as the United States Court of Appeals for the Eighth Circuit has

affirmed the decision of the district court on the interlocutory

appeal,

           IT IS ORDERED that the government’s motion is denied as

moot.

           DATED this 17th day of July, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
